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November 28, 2021

VIA EMAIL


 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square
 New York, NY 10007


Re:        United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)


Dear Judge Nathan,

       On behalf of our client, Ghislaine Maxwell, we respectfully submit this letter in response

to the government’s letter, dated November 27, 2021, seeking to preclude certain topics of cross-

examination.1 The defense does not intend to cross-examine Accuser-1 or Accuser-2 about

               unless their testimony opens the door to such cross-examination. Similarly, the

defense does not intend to cross-examine Accuser-1 about

                     unless the witness’s testimony opens the door to such cross-examination.


       However, Accuser-1’s brother, who is a testifying witness, told the government less than

three weeks ago that




       1
        Pursuant to our established protocol, the defense is submitting this letter to the Court
under temporary seal to allow the government to propose any appropriate redactions.
The Honorable Alison J. Nathan
November 28, 2021
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                                                                                 The defense

should be permitted to cross-examine Accuser-1 about                         because it is relevant

to her ability to recall the events in question accurately. As the government concedes, it is




 Respectfully submitted,




 Jeffrey S. Pagliuca



CC: Counsel of Record
